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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Bessee Medical                                                        Con ingent
          9075 Centre Pointe Dr. #140                                           Unliquidated
          West Chester, OH 45069                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6121 - Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $945.00
          Beyond Lucid Technologies Inc                                         Con ingent
          1320 Willow Path Road                                                 Unliquidated
          Ste 642                                                               Disputed
          Concord, CA 94520
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.80
          Caleb Jordan                                                          Con ingent
          71 N. Dragonwood Place                                                Unliquidated
          Spring, TX 77381                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: expense reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Centerpoint Energy                                                    Con ingent
          P.O. Box 4981                                                         Unliquidated
          Houston, TX 77210-4981                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6202 - Utilities Expense
          Last 4 digits of account number 0127
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          CoAEMSP                                                               Con ingent
          8301 Lakeview Parkway                                                 Unliquidated
          Ste 111-312                                                           Disputed
          Rowlett, TX 75088
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,314.57
          Comcast                                                               Con ingent
          PO Box 60533                                                          Unliquidated
          City of Industry, CA 91716
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6191 - Telephone
          Last 4 digits of account number
                                                                             utility account #s 0606473, 0605263, 1501701, 0827040, 0070658,
                                                                             0890812, 1421163
                                                                             Is the claim subject to offset?     No       Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Comcast Business                                                      Con ingent
          PO Box 8587                                                           Unliquidated
          Philadelphia, PA 19101-8587                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6191 - Telepone
          Last 4 digits of account number 1770
                                                                             (contract assumed and assigned to OneMain Development LLC)
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          Conroe Commercial Door Solutions                                      Con ingent
          324 Rogers                                                            Unliquidated
          Willis, TX 77378                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.85
          Cypress Creek Pest Control                                            Con ingent
          8722 Rockmore Dr                                                      Unliquidated
          Houston, TX 77068                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6185 - Station Maintenance & Repair
          Last 4 digits of account number
                                                                             vendor
                                                                             account #s 804750, 900528, 900522, 900527, 895762
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,859.00
          Enviro-Master of Houston                                              Con ingent
          PO Box 1235                                                           Unliquidated
          Charlotte, NC 28220                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 1152 - FEMA COVID
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,164.72
          ESO Solutions, Inc.                                                   Con ingent
          11500 Alterra Pkwy #100                                               Unliquidated
          Austin, TX 78758                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 1158 - Prepaid Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          Eugene Barkley                                                        Con ingent
          10703 Elm Dale Drive                                                  Unliquidated
          Houston, TX 77070                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          FCPC Management LLC                                                   Con ingent
          c/o The Corner Vet - Champions                                        Unliquidated
          PO 5645                                                               Disputed
          Katy, TX 77491
                                                                             Basis for the claim: uncleared check
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $154.39
          Galls, LLC                                                            Con ingent
          PO Box 71628                                                          Unliquidated
          Chicago, IL 60694-1628                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6200 - Uniforms- Staff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,300.00
          Grapevine Police Department                                           Con ingent
          Attn: Captain Gidney                                                  Unliquidated
          1007 Ira E Woods Ave                                                  Disputed
          Grapevine, TX 76051
                                                                             Basis for the claim: prepaid tacitcal class that was cancelled
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $652.64
          Handtevy Pediatric Emergency Standars                                 Con ingent
          11870 State Rd 84                                                     Unliquidated
          Ste. C5                                                               Disputed
          Fort Lauderdale, FL 33332-5000
                                                                             Basis for the claim: 1158 - Prepaid Expense
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $582.41
          Harris Co. MUD #24                                                    Con ingent
          P.O. Box 2569                                                         Unliquidated
          Spring, TX 77383-2569                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6202 - Utilities Expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $324.00
          Harris County Emergency Corps                                         Con ingent
          2800 Aldine Bender Rd                                                 Unliquidated
          Houston, TX 77032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Harris County MUD # 26                                                Con ingent
          PO Box 1689                                                           Unliquidated
          Spring, TX 77383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Harris County MUD 230                                                 Con ingent
          PO Box 690406                                                         Unliquidated
          Houston, TX 77269                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,587.10
          Harris County Radio Services                                          Con ingent
          a/k/a Harris County                                                   Unliquidated
          2318 Greens Rd                                                        Disputed
          Houston, TX 77032
                                                                             Basis for the claim: 6191 - Telephone
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $264.27
          Health Care Logistics Inc.                                            Con ingent
          PO Boxs 400                                                           Unliquidated
          Circleville, OH 43113-0400                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $430.03
          Hi-Line Inc.                                                          Con ingent
          PO Box 972081                                                         Unliquidated
          Dallas, TX 75397-2081                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6211 - Vehicle Preventative Maint
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,964.26
          Hurt Company                                                          Con ingent
          Attn: RelaDyne                                                        Unliquidated
          PO Box 958427
                                                                                Disputed
          Saint Louis, MO 63195-8427
                                                                             Basis for the claim: 6011 - Late Fees/Finance Charges
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,249.74
          Jaguar Fueling Services, LLC                                          Con ingent
          8515 E. Northbelt                                                     Unliquidated
          Humble, TX 77396                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6210 - Vehicle Fuel (10,479.51)
          Last 4 digits of account number                                    6211 - Vehicle-Preventative Maint (2014.50)
                                                                             (we dispute anything over 21,249.74)
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $87.72
          James Thorne                                                          Con ingent
          18202 Willow Court                                                    Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $55.00
          Keith Lancaster                                                       Con ingent
          17422 Valley Palms Drive                                              Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Lake Forest, UD                                                       Con ingent
          PO Box 3264                                                           Unliquidated
          Houston, TX 77253-3264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6202         - Utilities Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Legal Shield                                                          Con ingent
          PO Box 2629                                                           Unliquidated
          Ada, OK 74821                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,300.00
          Lisa Mayhew                                                           Con ingent
          50 Twinturn Drive                                                     Unliquidated
          Brewster, MA 02631                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: canceled tactical class
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $425.00
          Little York Fire Department                                           Con ingent
          10410 Airline Drive                                                   Unliquidated
          Houston, TX 77037                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.00
          Luisa LaFuente                                                        Con ingent
          16347 Wild Oak Lane                                                   Unliquidated
          Conroe, TX 77302                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,252.50
          McKinney Taylor PC                                                    Con ingent
          Three Riverway, Ste. 900                                              Unliquidated
          Houston, TX 77056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6112 - Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Melody Barlow                                                         Con ingent
          13203 Regency Oak Lane                                                Unliquidated
          Cypress, TX 77429
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,877.80
          Memorial Herman Sports Medicine                                       Con ingent
          27700 Northwest Fwy                                                   Unliquidated
          Ste 130                                                               Disputed
          Cypress, TX 77433
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,161.74
          Mobile Electric Power Solutions                                       Con ingent
          PO 550248                                                             Unliquidated
          Dallas, TX 75355                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $44.16
          Mobile Modular Portable Storage                                       Con ingent
          POB 45043                                                             Unliquidated
          San Francisco, CA 94145                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,675.97
          MP2 Energy Texas n/k/a Shell Energy                                   Con ingent
          PO Box 733560                                                         Unliquidated
          Dallas, TX 75320-2829                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $377.90
          National Pen Company                                                  Con ingent
          PO Box 847203                                                         Unliquidated
          Dallas, TX 75284-7203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Nealy, Wren                                                           Con ingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim: Claim released as part of ESD11 litigation

                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Northwest Communications                                              Con ingent
          10810 Barely Lane Ste B                                               Unliquidated
          Houston, TX 77070                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $13.00
          Paycomm                                                               Con ingent
          820 Gessner Rd                                                        Unliquidated
          Ste. 1500                                                             Disputed
          Houston, TX 77024
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,595.04
          Phu Nguyen                                                            Con ingent
          5143 Kylie Springs Lane                                               Unliquidated
          Houston, TX 77066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Planet Ford                                                           Con ingent
          PO Box 2809                                                           Unliquidated
          Spring, TX 77383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6211 - Vehicle-Preventative Maint.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Platinum Educational Group                                            Con ingent
          4370 Chicago Drive                                                    Unliquidated
          Ste B #205                                                            Disputed
          Grandville, MI 49418
                                                                             Basis for the claim: 6041 - Educational Expense
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $39.94
          Ponderosa Forest District                                             Con ingent
          PO 1689                                                               Unliquidated
          Spring, TX 77383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $75.00
          Sandra Patlan                                                         Con ingent
          2339 Autumn Springs Lane                                              Unliquidated
          Spring, TX 77373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Refunded canceled CPR class
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $263.50
          Shred-It USA- Houston                                                 Con ingent
          28883 Network Place                                                   Unliquidated
          Chicago, IL 60673-1288                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,351.00
          Siemen's Healthcare Diagnostics                                       Con ingent
          511 Benedict Ave Tarrytown                                            Unliquidated
          Tarrytown, NY 10591-5005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: "1140 - Misc Receivable"
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,502.14
          Sparklets and Sierra Springs                                          Con ingent
          PO Box 660579                                                         Unliquidated
          Dallas, TX 75266-0579                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6186 - station supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,364.56
          Stericycle, Inc.                                                      Con ingent
          PO Box 6575                                                           Unliquidated
          Carol Stream, IL 60197-6575                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6121 - Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,232.65
          Stryker Sales Corporation
          a/k/a Stryker Medical                                                 Con ingent
          c/o Miller Canfield Att: Daniel Anderson                              Unliquidated
          277 S. Rose Street                                                    Disputed
          Kalamazoo, MI 49007
                                                                             Basis for the claim: 6121- Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TASC                                                                  Con ingent
          PO Box 8278                                                           Unliquidated
          Milwaukee, WI 53288                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,193.33
          Texas Prestige Cleaning Service LLC                                   Con ingent
          2508 Franklin Woods Drive                                             Unliquidated
          Conroe, TX 77304                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $78.33
          Transunion Risk and Alternative Data Sol                              Con ingent
          PO Box 209047                                                         Unliquidated
          Dallas, TX 75320-9047                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: 6055 - Background Check
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Cypress Creek Emergency Medical Services
 Debtor       Association                                                                             Case number (if known)            4:21-bk-33733
              Name

 3.60      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $143.08
           United Parcel Service                                                Con ingent
           PO Box 650116                                                        Unliquidated
           Dallas, TX 75265                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $248.18
           Valerie Avila                                                        Con ingent
           20222 Ash Glen Court                                                 Unliquidated
           Spring, TX 77388                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $156.83
           Verizon                                                              Con ingent
           PO Box 660108                                                        Unliquidated
           Dallas, TX 75266-0108                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $23.94
           Voiance Language Services Inc.                                       Con ingent
           PO Box 74008101                                                      Unliquidated
           Chicago, IL 60674-8101                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: 6191 Telephone
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,790.00
           Weaver and Tidwell LLC                                               Con ingent
           2821 West 7th Street                                                 Unliquidated
           Ste 700                                                              Disputed
           Fort Worth, TX 76107
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,501.70
           Xerox Business Solutions                                             Con ingent
           PO Box 205354                                                        Unliquidated
           Dallas, TX 75320-5354                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $917.91
           XL Parts                                                             Con ingent
           PO Box 736201                                                        Unliquidated
           Dallas, TX 75373-6201                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: 6211 Vehicle-Preventative Maint.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

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              Cypress Creek Emergency Medical Services
 Debtor       Association                                                                         Case number (if known)          4:21-bk-33733
              Name


   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       AT&T
           c/o Bankruptcy                                                                        Line     3.4
           4331 Communications Dr
                                                                                                        Not listed. Explain
           Flr 4W
           Dallas, TX 75211

 4.2       Harris County Radio Services
           Accounts Receivable Dept 200                                                          Line     3.25
           PO Box 4354
                                                                                                        Not listed. Explain
           Houston, TX 77210-4354

 4.3       Memorial Herman Sports Medicine
           2956 Interstate 45 N                                                                  Line     3.39
           Ste 500
                                                                                                        Not listed. Explain
           Conroe, TX 77303

 4.4       MP2 Energy
           3 Waterway Place #110                                                                 Line     3.42
           Spring, TX 77380
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    141,434.33
 5b. Total claims from Part 2                                                                       5b.    +     $                    202,771.39

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      344,205.72




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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Cypress Creek Emergency Medical Services Association                                           Case No.     4:21-bk-33733
                                                             Debtor(s)                                     Chapter      11



                           DECLARATION CONCERNING DEBTOR'S AMENDED SCHEDULES

           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                     I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty
            of perjury that I have read the foregoing , consisting of       page(s), and that they are true and correct to the best of
            my knowledge, information, and belief.



 Date      October 12, 2022                                                   Signature
                                                                                          J Patrick Magill
                                                                                          Chief Restructuring Officer

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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